                                                                                 FTXCreditor (https://ftxcreditor.com)
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    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF DELAWARE


     In re:                                                        Chapter 11
       FTX Trading Ltd. (d/b/a “FTX”)​
                                                                       22-11068​
     debtorentity                                                  caseID
     Debtors                                                       (Jointly Administered)
                         TRANSFER OF CLAIM OTHER THAN FOR SECURITY


    A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
    hereby gives evidence and notice pursuant to Rule 3001(e)(2) of the Federal Rules of Bankruptcy
    Procedure of the transfer, other than for security, of the claim referenced in this evidence and notice

     Name of Transferor:                                           Name of Transferee:
     t                     ​                                       Grand Teton C II, LLC
     Name and Current Address of Transferor:                       Name and Address where notices and payments
                                                                   to transferee should be sent:
     Address:                                                      Address:
                           ​                                       Grand Teton C II, LLC
                                                                   Michael Bottjer


                                                                   1509 Bent Ave.


                                                                   Cheyenne, WY 82001,


                                                                   claims@ftxcreditor.com



     Claim No./Schedule                  Creditor Name             Amount                     Debtor

     Kroll Schedule                                                Described on Schedule F    FTX Trading Ltd. (d/b/a
       221106806587438​                                    ​                                  debtorentity
                                                                                              “FTX”) (Case No. 22-
                                                                                              11068)​

     krollScheduleID
     Debtor Schedule F No:                                         Described on Schedule F    FTX Trading Ltd. (d/b/a
      05594871​
     schedulefnumber                     transferoremail                                      “FTX”) (Case No. 22-
                                                                                              debtorentity
                                                               ​                              11068)​

     claimConfirmationNumber

                                                                                                Transfer Agreement
Document Ref: TJ8DF-JJBDA-AVGQQ-U6DHU                                                                                   Page 4 of 13
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    I declare under penalty of perjury that the information provided in this notice is true and correct to the
    best of my knowledge and belief.



    By:
    Transferee / Transferee’s Agent

           2024-07-26​
    Date: transferdate




                                                                                      Transfer Agreement
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                                     Identity of Transferor

Transferee has in its possession an Evidence of Transfer signed by the Transferor.

To protect the identity of the Transferor, Transferee has not disclosed the Transferor’s name or address,
and has not attached the signed Evidence of Transfer to this Notice of Transfer of Claim.

Upon written request, Transferee is prepared to provide a copy of the signed Evidence of Transfer to the
Bankruptcy Court, the Debtors, and appropriate professionals.




                                                                                 Transfer Agreement
                                                                                                   Page 6 of 13
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                                 EVIDENCE OF TRANSFER OF CLAIM

    TO: Clerk, United States Bankruptcy Court, Southern District of New York, for good and valuable consid-
    eration, the receipt and sufficiency of which are hereby acknowledged,                   ​e
    has unconditionally and irrevocably sold, transferred and assigned to Grand Teton C II, LLC, its
    successors and assigns, all right, title and interest in and to the claim(s) identified below, against FTX
    Trading LTD et al.

     Schedule F Claim #:                        05594871​
                                                schedulefnumber
     Claim Amount:                              as detailed on Schedule F

    Seller hereby waives any notice or hearing requirements imposed by Rule 3001 of the Federal Rules of
    Bankruptcy Procedure, and stipulates that an order may be entered recognizing this Evidence of Transfer
    of Claim as an unconditional assignment and Buyer as the valid owner of the claim.

    You are hereby requested to make all future payments and distributions, and to give all notices and other
    communications in respect of the claim, to Buyer.


             2024-07-26​
    Date:


     BUYER:
     Grand Teton C II, LLC




     Name: Michael Bottjer                                  Name:                ​

     Email: claims@ftxcreditor.com                          Email:                   ​




                                                                                         Transfer Agreement
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